                    PRUDENT EXHBIT 15




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                                                                                                          REPRESENTATION OF PRINTED DOCUMENT




                                                   C/O PHH Mortgage Services | 1 Mortgage Way | Mt. Laurel, NJ 08054 | Tel 1-888-820-6474 | Fax 1-856-917-8300



                                                                        Notices of Error and Requests for Information: You may assert an error related to the servicing of the mortgage loan,
                                                                        including Qualified Written Requests, as well as submit Requests for Information, for our review and response. You must
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                                                   9JM4^s-`EGYaZ   use the address below and include your name, the mortgage loan account number, property address, and a statement of
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                                                                        either the information you are requesting or the error you believe has occurred:

                                                                                                                           PHH Mortgage Services
                                                                                                                            Post Office Box 66002
                                                                                                                           Lawrenceville, NJ 8642

                                                                        Requests for a Payoff Statement: You may submit a request for a payoff statement and we will provide the total
                                                                        outstanding balance to pay the obligation in full as of a specified date. We will respond to your request in no more than 7
                                                                        business days, unless a shorter timeframe is required by applicable law, or an expedited payoff is requested. You may
                                                                        e-mail us at statements@mortgagequestions.com to request a written payoff statement or fax your request to
                                                                        856-917-8283. For expedited payoffs, a fee of up to $20.00 may be assessed, subject to applicable law.

                                                                        Here is some other information about the mortgage loan that may be helpful to you:

                                                                        Periodic Statements and Payments: The monthly mortgage statement contains detailed information about the mortgage
                                                                        loan including the principal and escrow balances, current interest rate, and due date of the loan, as well as the monthly
                                                                        payment amount.

                                                                        Loss Mitigation Options: We encourage you to contact us at the number above to learn more about options which may be
                                                                        available to you. Additionally, if at the time you were identified as a Successor-in-Interest the mortgage loan was
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                                                                        delinquent, referred to foreclosure or there was a loss mitigation application pending, one of our Case Managers will be
                                                                        contacting you shortly to discuss options.

                                                                        Assumption Process: As indicated above, as a Successor-in-Interest, although you have acquired an interest in the property
                                                                        that is subject to the mortgage loan, you are not personally liable for the associated debt. Some of the loss mitigation
                                                                        options available to you may require that you assume the mortgage loan if you are approved. Additionally, there may be
                                                                        other reasons you would want to assume the mortgage loan, such as to receive an IRS form 1098 Mortgage Interest
                                                                        Statement, or to have the mortgage listed as a trade line on your credit report. If you would like more information about
                                                                        the assumption process, you may contact us at 1-888-820-6474, extension 16660. Please understand that there may be
                                                                        costs involved with assuming the mortgage loan, and loss mitigation options are not guaranteed just because you assume
                                                                        the loan if you otherwise do not qualify. We encourage you to seek the advice of counsel regarding any questions you may
                                                                        have about what you should do based on your individual circumstances.

                                                                        We hope this information was helpful. If you require additional assistance please contact our Customer Care Center at
                                                                        1-888-820-6474 Monday through Friday from 8:00 am to 9:00 pm and Saturday from 8:00 am to 5:00 pm ET.

                                                                        Sincerely,
                                                                        Special Loans Department




                                                                                                    www.MortgageQuestions.com                                                       SP147
                                                   This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose.
                                                   However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is provided purely for
                                                   informational purposes only with regard to our secured lien on the above referenced property. It is not intended as an attempt to
                                                   collect a debt from you personally. As may be required by state law, you are hereby notified that a negative credit report reflecting
                                                   on an accountholder’s credit record may be submitted to a credit reporting agency if credit obligation terms are not fulfilled
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                                                   C/O PHH Mortgage Services | 1 Mortgage Way | Mt. Laurel, NJ 08054 | Tel 1-888-820-6474 | Fax 1-856-917-8300



                                                                                                                                                                           Loan Number:        5107

                                                   [e?Y I3Jvk.d/                          CONFIRMED SUCCESSOR-IN-INTEREST ACKNOWLEDGMENT FORM
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                                                                        As a confirmed successor-in-interest for the above referenced mortgage loan you are entitled to receive certain notices and
                                                                        communications about the mortgage loan, such as periodic statements and mortgage servicing transfer notices; if we are
                                                                        not already providing them to another confirmed successor-in-interest, or borrower on the account*. Please note that
                                                                        there is no time limit to return this acknowledgment form but that we will not begin sending such notices and
                                                                        communications to you until the acknowledgment is returned.

                                                                        Acknowledgment: As the confirmed successor-in-interest for the above referenced mortgage loan

                                                                        a. I request receipt of certain notices and communications about the mortgage loan if the servicer is not providing them to
                                                                              another confirmed successor-in-interest, or borrower on the account; and

                                                                        b. I understand that such notices do not make me liable for the mortgage debt and that I am only liable for the mortgage
                                                                              debt if I assume the mortgage loan obligation under state law.

                                                                            Printed Name:


                                                                            Signature:
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                                                                            Mailing Address:




                                                                            Date:


                                                                            Social Security Number**:

                                                                        Please return the executed acknowledgment form to the following address:

                                                                                                                          PHH Mortgage Services
                                                                                                                            1 Mortgage Way
                                                                                                                             Mail Stop SV-13
                                                                                                                          Mount Laurel, NJ 08054

                                                                        *Please note our communication policy on the enclosed cover letter
                                                                        **This information is requested for tracking purposes only in the event you file for bankruptcy.

                                                                        We encourage you to seek the advice of counsel regarding any questions you may have about what you should do based on
                                                                        your individual circumstances.



                                                                                                    www.MortgageQuestions.com                                                       SP147
                                                   This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose.
                                                   However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is provided purely for
                                                   informational purposes only with regard to our secured lien on the above referenced property. It is not intended as an attempt to
                                                   collect a debt from you personally. As may be required by state law, you are hereby notified that a negative credit report reflecting
                                                   on an accountholder’s credit record may be submitted to a credit reporting agency if credit obligation terms are not fulfilled
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